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11 Attorneys for Defendants

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13                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
14                                        SAN JOSE DIVISION

15
     COUNTY OF SANTA CLARA, et al.,                    ) Case No. 5:21-cv-01655-BLF
16                                                     )
             Plaintiffs,                               ) JOINT STATUS REPORT AND STIPULATED
17                                                     ) REQUEST FOR ORDER CONTINUING STAY
        v.                                             )
18                                                     )
     U.S. DEPARTMENT OF HEALTH AND                     )
19   HUMAN SERVICES, et al.,                           )
                                                       )
20                                                     )
             Defendants.                               )
21

22
             Pursuant to the Court’s Order of April 23, 2021, see ECF No. 33, the parties respectfully submit
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     the following joint status report addressing further proceedings, together with a stipulated request for an
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     order continuing the stay of this action through November 1, 2021.
25
             1.      This is an Administrative Procedure Act (“APA”) case in which Plaintiffs challenge a final
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     rule promulgated by the U.S. Department of Health and Human Services (“HHS”) entitled Securing
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     Updated and Necessary Statutory Evaluations Timely, 86 Fed. Reg. 5694 (Jan. 19, 2021) (the “SUNSET
28
     JOINT STATUS REPORT AND STIPULATED REQUEST FOR ORDER CONTINUING STAY
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 1 Rule”). The SUNSET Rule provides, in essential part, that nearly all regulations issued by HHS in Titles

 2 21, 42, and 45 of the Code of Federal Regulations shall expire at the end of (1) five calendar years after

 3 the year that the SUNSET Rule first becomes effective, (2) ten calendar years after the year of the

 4 regulation’s promulgation, or (3) ten calendar years after the last year in which HHS assessed and, if

 5 required, reviewed the regulation, whichever is latest.

 6          2.      Plaintiffs filed their complaint challenging the SUNSET Rule on March 9, 2021. See ECF

 7 No. 1. Plaintiffs alleged that the SUNSET Rule is ultra vires, see id. ¶¶ 123-30; arbitrary and capricious,

 8 see id. ¶¶ 131-33; in violation of the APA’s notice-and-comment requirements, see id. ¶¶ 134-39; and in

 9 violation of HHS’s Tribal Consultation Policy, see id. ¶¶ 140-44. Plaintiffs further alleged that the

10 SUNSET Rule threatens imminent and irreparable harm to them and the general public, including by

11 creating regulatory confusion and uncertainty that will impede their ongoing operations, budgeting, and

12 planning activities. See, e.g., id. ¶¶ 100-02; see generally id. ¶¶ 95-122.

13          3.      As promulgated, the SUNSET Rule was scheduled to become effective on March 22, 2021.

14 See 86 Fed. Reg. at 5694. Shortly before the SUNSET Rule became effective, HHS postponed its effective

15 date for one year, to March 22, 2022, pursuant to 5 U.S.C. § 705. See 86 Fed. Reg. 15404 (2021). While

16 HHS did not concede liability, HHS stated that it “believes that the Court could find merit in some of

17 Plaintiffs’ claims.” Id. at 15,405. In particular, HHS stated that, in contrast to its prior findings, it “now

18 believes it is likely some regulations would expire without any additional process” and that this outcome

19 raises legal questions about whether “regulations promulgated through notice and comment rulemaking

20 can be terminated through an umbrella rule without individual consideration of the expiring regulations,

21 including any reliance interests.” Id. at 15,406. HHS further stated that it “may have significantly

22 underestimated the burden” of the rule and that the rule’s magnitude and timing “may have impeded the

23 full and deliberate consideration of all the potential issues related to the SUNSET rule.” Id.

24          4.      HHS is preparing to issue a notice of proposed rulemaking repealing the SUNSET Rule.

25 See Office of Information and Regulatory Affairs, Office of Management and Budget, RIN 0991-AC24,

26 https://www.reginfo.gov/public/do/eAgendaViewRule?pubId=202104&RIN=0991-AC24. HHS is also

27 reviewing the Rule in light of Plaintiffs’ claims raised in this litigation, and seeks additional time to

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 1 evaluate the claims and its position before taking further steps in this litigation.

 2          5.      The parties therefore jointly request that the Court continue the stay of this action through

 3 November 1, 2021, and direct the parties to file a joint status report proposing a schedule for further

 4 proceedings by that date.

 5 Date: July 30, 2021                                     Respectfully submitted,

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     JOINT STATUS REPORT AND STIPULATED REQUEST FOR ORDER CONTINUING STAY
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19

20

21                                    LOCAL RULE 5-1(i) ATTESTATION

22         I attest that I have obtained Samara Spence’s concurrence in the filing of this document.
23
                                                /s/ Steven A. Myers
24                                              Steven A. Myers

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 1                                         [PROPOSED] ORDER

 2         PURSUANT TO STIPULATION, IT IS SO ORDERED. The case shall remain STAYED through

 3 November 1, 2021, by which date the parties shall submit a joint status report proposing a schedule for

 4 further proceedings.

 5
           July 30, 2021
 6 Dated: __________________________                   __________________________________
                                                       HON. BETH LABSON FREEMAN
 7                                                     UNITED STATES DISTRICT JUDGE
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     JOINT STATUS REPORT AND STIPULATED REQUEST FOR ORDER CONTINUING STAY
     CASE NO. 5:21-CV-01655-BLF
